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Attorneys for Defendant Jennifer Johnson

                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


 CC FORD GROUP, LLC,                           CIVIL ACTION NO.: 3:22-cv-04143
                            Plaintiff,
 v.
                                               CERTIFICATE OF SERVICE
 JENNIFER JOHNSON,

                             Defendant.




       I hereby certify that I am a partner in the law firm of Critchley, Kinum & Luria, LLC,

attorneys for Defendant Jennifer Johnson in the above captioned matter. On the 17th day of June

2022, I caused the foregoing Notice of Removal to be filed with the Clerk of the Court for the

United States District Court for the District of New Jersey via the Court’s CM/ECF system.

       A courtesy copy of the Notice of Removal was sent by e-mail and Lawyers Service to

Plaintiff’s counsel as follows:

                                     Vito A. Gagliardi, Jr., Esq.
                                     VAGagliardi@pbnlaw.com
                                  Porzio, Bromberg & Newman, P.C.
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Case 3:22-cv-04143-MAS-TJB Document 1-3 Filed 06/17/22 Page 2 of 2 PageID: 31




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      A courtesy copy of the Notice of Removal was sent by Lawyers Service to:

                                      Clerk’s Office
                               Superior Court of New Jersey
                              Somerset County, Law Division
                                  20 North Bridge Street
                                Somerville, NJ 08876-1262


                                         CRITCHLEY, KINUM & LURIA, LLC
                                         Attorneys for Defendant Jennifer Johnson


                                         /s/ Amy Luria
                                         By: AMY LURIA, ESQ.


   Dated: June 17, 2022




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